Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 1 of 37 PageID #: 3487



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                 )
 BIOGEN INTERNATIONAL GMBH and )                   REDACTED PUBLIC
 BIOGEN MA INC.,                 )                 VERSION
                                 )
                 Plaintiffs,     )
                                 )                 Civil Action No. 17-cv-823-MN
           v.                    )                 (consolidated)
                                 )
 AMNEAL PHARMACEUTICALS INC., et )
 al.                             )
                                 )
                 Defendants.     )
                                 )

                            PROPOSED FINAL PRETRIAL ORDER



ASHBY & GEDDES                                   CONNOLLY GALLAGHER LLP
Steven J. Balick (#2114)                         Arthur G. Connolly, III (#2667)
Andrew C. Mayo (#5207)                           Stephanie S. Riley (#5803)
500 Delaware Avenue, 8th Floor                   1201 Market Street, 20th Floor
P.O. Box 1150                                    Wilmington, DE 19801
Wilmington, DE 19899                             (302) 757-7300
(302) 654-1888                                   aconnolly@connollygallagher.com
sbalick@ashbygeddes.com                          sriley@connollygallagher.com
amayo@ashbygeddes.com
                                                 Attorneys for Aurobindo Pharma U.S.A., Inc.
Attorneys for Plaintiffs                         and Aurobindo Pharma USA LLC

BAYARD, P.A.                                     PHILLIPS, GOLDMAN, MCLAUGHLIN
Stephen B. Brauerman (#4952)                     & HALL, P.A.
600 N. King Street, Suite 400                    John C. Phillips, Jr. (#110)
Wilmington, DE 19801                             David A. Bilson (#4986)
(302) 655-5000                                   1200 North Broom Street
sbrauerman@bayardlaw.com                         Wilmington, DE 19806-4204
                                                 (302) 655-4200
Attorneys for Hetero USA Inc., Hetero Labs       jcp@pgmhlaw.com
Limited Unit-III, and Hetero Labs Limited        dab@pgmhlaw.com

                                                 Attorneys for MSN Laboratories Private Ltd.
                                                 and MSN Pharmaceuticals Inc.




{01509412;v1 }                               1
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 2 of 37 PageID #: 3488



BAYARD, P.A.                                     PHILLIPS, GOLDMAN, MCLAUGHLIN
Stephen B. Brauerman (#4952)                     & HALL
600 N. King Street, Suite 400                    John C. Phillips, Jr. (#110)
Wilmington, DE 19801                             David A. Bilson (#4986)
(302) 655-5000                                   1200 North Broom Street
sbrauerman@bayardlaw.com                         Wilmington, DE 19806-4204
                                                 (302) 655-4200
Attorneys for Shilpa Medicare Limited            jcp@pgmhlaw.com
                                                 dab@pgmhlaw.com

                                                 Attorneys for Sandoz Inc. and
                                                 Prinston Pharmaceutical Inc.


 PHILLIPS, GOLDMAN, MCLAUGHLIN
 & HALL
 John C. Phillips, Jr. (#110)
 David A. Bilson (#4986)
 1200 North Broom Street
 Wilmington, DE 19806-4204
 (302) 655-4200
 jcp@pgmhlaw.com
 dab@pgmhlaw.com

Attorneys for Zydus Pharmaceuticals (USA) Inc.




{01509412;v1 }                               2
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 3 of 37 PageID #: 3489




                                                       Table of Contents
                                                                                                                                        Page

I.       Nature of the Consolidated Case......................................................................................... 6

         A.        Nature of the Actions .............................................................................................. 6

         B.        Complaints, Asserted Claims and Requested Relief............................................... 9

         C.        Defendants’ Answers, Defenses, Counterclaims and Requested Relief ............... 11

                   1.         Aurobindo ................................................................................................. 11

                   2.         Hetero........................................................................................................ 12

                   3.         MSN .......................................................................................................... 13

                   4.         Prinston ..................................................................................................... 14

                   5.         Sandoz ....................................................................................................... 14

                   6.         Shilpa ........................................................................................................ 15

                   7.         Zydus......................................................................................................... 16

         D.        Plaintiffs’ Answers to Counterclaims and Requested Relief ................................ 16

                   1.         Aurobindo ................................................................................................. 16

                   2.         Hetero........................................................................................................ 17

                   3.         MSN .......................................................................................................... 17

                   4.         Prinston ..................................................................................................... 18

                   5.         Sandoz ....................................................................................................... 18

                   6.         Shilpa ........................................................................................................ 18

                   7.         Zydus......................................................................................................... 19

         E.        Consolidation ........................................................................................................ 19

         F.        Claim Construction ............................................................................................... 19

         G.        Prior Motions ........................................................................................................ 19

         H.        Pending Motions ................................................................................................... 20



{01509412;v1 }                                                       3
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 4 of 37 PageID #: 3490



II.      Jurisdiction ........................................................................................................................ 20

III.     Facts .................................................................................................................................. 21

         A.         Uncontested Facts ................................................................................................. 21

         B.         Contested Facts ..................................................................................................... 21

IV.      Issues of Law .................................................................................................................... 21

V.       Witnesses .......................................................................................................................... 21

         A.         List of Witnesses Plaintiffs Expects to Call .......................................................... 23

         B.         List of Witnesses Defendants Expects to Call ...................................................... 24

         C.         List of Witnesses Third Parties Expect to Call ..................................................... 24

         D.         Testimony by Deposition ...................................................................................... 24

         E.         Impeachment with Prior Inconsistent Testimony ................................................. 27

         F.         Objections to Expert Testimony ........................................................................... 27

VI.      Exhibits ............................................................................................................................. 27

         A.         Exhibits ................................................................................................................. 27

         B.         Demonstrative Exhibits......................................................................................... 30

VII.     Damages............................................................................................................................ 31

VIII.    Bifurcated Trial ................................................................................................................. 31

IX.      Motions in Limine ............................................................................................................. 31

         A.         Plaintiffs’ Motions in Limine ................................................................................ 31

                    1.          Motion in Limine (No. 1) to Preclude Defendants’ Experts from
                                Offering Testimony Related to Biogen’s Intent, Motive or State of
                                Mind .......................................................................................................... 31

                    2.          Motion in Limine (No. 2) to Exclude Evidence and Arguments
                                Related to Derivation or Invention by FDA ............................................. 32

                    3.          Motion in Limine (No. 3) to Exclude Evidence Related to Using
                                the O’Neill Presentation as Prior Art ........................................................ 32

         B.         Defendants’ Motions in Limine ............................................................................ 32


{01509412;v1 }                                                         4
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 5 of 37 PageID #: 3491



X.        Discovery .......................................................................................................................... 32

XI.       Number of Jurors .............................................................................................................. 32

XII.      Non-Jury Trial................................................................................................................... 32

XIII.     Length of Trial .................................................................................................................. 33

XIV. Motions for Judgment as a Matter of Law ........................................................................ 34

XV.       Amendments of the Pleadings .......................................................................................... 34

XVI. Additional Matters ............................................................................................................ 34

XVII. Settlement ......................................................................................................................... 35




{01509412;v1 }                                                         5
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 6 of 37 PageID #: 3492




         This matter comes before the Court at a final pretrial conference held pursuant to Fed. R.

Civ. P. 16 and D. Del. LR 16.3. Plaintiffs Biogen International GmbH and Biogen MA Inc.

(collectively “Biogen” or “Plaintiffs”) and Defendants (1) Sandoz Inc. (“Sandoz), (2) Prinston

Pharmaceutical Inc. (“Prinston”), (3) MSN Laboratories Private Limited and MSN

Pharmaceuticals Inc. (collectively “MSN”), (4) Zydus Pharmaceuticals (USA) Inc. (“Zydus”), (5)

Aurobindo Pharma U.S.A., Inc. and Aurobindo Pharma USA LLC (collectively “Aurobindo”), (6)

Hetero USA Inc., Hetero Labs Limited Unit-III and Hetero Labs Limited (collectively “Hetero”),

and (7) Shilpa Medicare Limited (“Shilpa”) (collectively “Defendants”), by their undersigned

counsel, submit this joint proposed Joint Pretrial Order governing the consolidated bench trial,

which is scheduled to begin on December 9, 2019, in Civil Action Nos. 1:17-cv-00824, 1:17-cv-

00825, 1:19-cv-00211, 1:17-cv-00845, 1:17-cv-00874, 1:17-cv-00847, and 1:17-cv-00954, which

are consolidated in Civil Action No. 1:17-cv-000823-MN (collectively “the Consolidated

Actions”).


I.       Nature of the Consolidated Case

         A.      Nature of the Actions

         1.      These are actions for patent infringement of U.S. Patent Nos. 8,399,514 (“the ’514

patent”)1 (the “asserted patent”) arising under the patent laws of the United States, Title 35, United

States Code, §§ 100 et seq., including 35 U.S.C. § 271. These actions relate to each Defendant’s

filing of an Abbreviated New Drug Application (“ANDA”) under Section 505(j) of the Federal

Food, Drug and Cosmetic Act (“the Act”), 21 U.S.C. § 355(j), seeking U.S. Food and Drug

Administration (“FDA”) approval to manufacture, use, sell, offer to sell, and import generic


         1
        The ’514 patent is asserted against all Defendants. (see C.A. Nos. 1:17-cv-00824, 1:17-
cv-00825, 1:17-cv-00845, 1:17-cv-00874, 1:17-cv-00847, and 1:17-cv-00954.)


{01509412;v1 }                                    6
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 7 of 37 PageID #: 3493



dimethyl fumarate delayed-release capsules containing 120 mg and 240 mg of dimethyl fumarate

(“Defendants’ generic products”) prior to the expiration of the asserted patent. (C.A. No. 1:17-cv-

00824, D.I. 1; C.A. No. 1:17-cv-00825, D.I. 1; C.A. No. 1:19-cv-00211, D.I. 1; C.A. No. 1:17-cv-

00845, D.I. 1; C.A. No. 1:17-cv-00874, D.I. 1; C.A. No. 1:17-cv-00847, D.I. 1; and C.A. No. 1:17-

cv-00954, D.I. 1 (“the Complaints”).)

         2.      With regard to the ’514 patent, the following related actions are currently stayed

pending the outcome of this litigation: Accord Healthcare Inc., C.A. No. 1:17-cv-00872, D.I. 163

(D. Del.) (consolidated)2; Alkem Laboratories Ltd. and S&B Pharma, Inc., C.A. No. 1:17-cv-

00850, D.I. 213 (D. Del.) (consolidated); Amneal Pharmaceuticals LLC, C.A. No. 1:17-cv-00823,

D.I. 171 (D. Del.) (consolidated); Cipla Limited and Cipla USA Inc., C.A. No. 1:17-cv-00851,

D.I. 223 (D. Del.) (consolidated); Glenmark Pharmaceuticals Limited and Glenmark

Pharmaceuticals Inc., USA, C.A. No. 1:17-cv-00852, D.I. 160 (D. Del.) (consolidated); Graviti

Pharmaceuticals Pvt. Ltd. and Graviti Pharmaceuticals Inc., C.A. No. 1:17-cv-00846, D.I. 156 (D.

Del.) (consolidated); Lupin Atlantis Holdings SA and Lupin Inc.3, C.A. No. 1:17-cv-00853, D.I.

143 (D. Del.) (consolidated); Macleods Pharmaceuticals, Ltd. and Macleods Pharma USA, Inc.,

C.A. No. 1:17-cv-00857, D.I. 214 (D. Del.) (consolidated); Pharmathen S.A., C.A. No. 1:17-cv-

00855, D.I. 283 (D. Del.) (consolidated); Slayback Pharma LLC and Slayback Pharma India LLP,

C.A. No. 1:17-cv-00828, D.I. 155 (D. Del.) (consolidated); Torrent Pharmaceuticals Ltd. and

Torrent Pharma Inc., C.A. No. 1:17-cv-00854, D.I. 169 (D. Del.) (consolidated); TWi

Pharmaceuticals, Inc. and TWi Pharmaceuticals USA Inc., C.A. No. 1:17-cv-00856, D.I. 162 (D.




         2
        “Consolidated” indicates that the relevant document was filed in the consolidated case,
C.A. No. 1:17-cv-00823-LPS (consol.).
      3
        Lupin Inc. is dismissed.


{01509412;v1 }                                   7
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 8 of 37 PageID #: 3494



Del.) (consolidated); and Windlas Healthcare, Pvt. Ltd., C.A. No. 1:17-cv-00849, D.I. 174 (D.

Del.) (consolidated).

         3.      With regard to the ’514 patent, the following related actions have been dismissed:

Accord Healthcare Inc., C.A. No. 1:17-cv-00612, D.I. 10 (M.D.N.C.); Caribe Holdings (Cayman)

Co. Ltd. DBA Puracap Caribe and Puracap International LLC, C.A. No. 1:18-cv-00121, D.I. 224

(D. Del.) (consolidated); Impax Laboratories, Inc., C.A. No. 1:17-cv-00826, D.I. 166 (D. Del.)

(consolidated); Par Pharmaceutical, Inc., C.A. No. 1:17-cv-00873, D.I. 11 (D. Del.); Par

Pharmaceutical, Inc., C.A. No. 1:17-cv-04984, D.I. 13 (S.D.N.Y.); Prinston Pharmaceutical Inc.,

C.A. No. 1:17-cv-00827, D.I. 172 (D. Del.) (consolidated); Sandoz Inc., C.A. No. 1:17-cv-01606,

D.I. 11 (D. Colo.); Stason Pharmaceuticals, Inc. and Sawai Pharmaceutical Co., Ltd., C.A. No.

8:17-cv-01133, D.I. 39 (C.D. Cal.); Sawai USA, Inc. and Sawai Pharmaceutical Co., Ltd., C.A.

No. 1:17-cv-00875, D.I. 332 (D. Del.) (consolidated); Sun Pharma Global FZE, C.A. No. 1:17-cv-

00848, D.I. 239 (D. Del.) (consolidated); Teva Pharmaceuticals USA Inc., C.A. No. 1:17-cv-

00829, D.I. 99 (D. Del.) (consolidated); and Zydus Pharmaceuticals (USA) Inc., C.A. No. 3:17-

cv-04857, D.I. 8 (D.N.J.).

         4.      The following defendants have stipulated to infringement of the asserted claims of

the ’514 patent: Accord Healthcare Inc., C.A. No. 1:17-cv-00872, D.I. 163 (D. Del.)

(consolidated); Alkem Laboratories Ltd. and S&B Pharma, Inc., C.A. No. 1:17-cv-00850, D.I. 213

(D. Del.) (consolidated); Amneal Pharmaceuticals LLC, C.A. No. 1:17-cv-00823, D.I. 171 (D.

Del.) (consolidated); Cipla Limited and Cipla USA Inc., C.A. No. 1:17-cv-00851, D.I. 223 (D.

Del.) (consolidated); Glenmark Pharmaceuticals Limited and Glenmark Pharmaceuticals Inc.,

USA, C.A. No. 1:17-cv-00852, D.I. 160 (D. Del.) (consolidated); Graviti Pharmaceuticals Pvt.

Ltd. and Graviti Pharmaceuticals Inc., C.A. No. 1:17-cv-00846, D.I. 156 (D. Del.) (consolidated);




{01509412;v1 }                                   8
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 9 of 37 PageID #: 3495



Lupin Atlantis Holdings SA and Lupin Inc.4, C.A. No. 1:17-cv-00853, D.I. 143 (D. Del.)

(consolidated); Macleods Pharmaceuticals, Ltd. and Macleods Pharma USA, Inc., C.A. No. 1:17-

cv-00857, D.I. 214 (D. Del.) (consolidated); Pharmathen S.A., C.A. No. 1:17-cv-00855 D.I. 283

(D. Del.) (consolidated); Sawai USA, Inc. and Sawai Pharmaceutical Co., Ltd., C.A. 1:17-cv-

00875, D.I. 321 (D. Del.) (consolidated); Slayback Pharma LLC and Slayback Pharma India LLP,

C.A. No. 1:17-cv-00828, D.I. 155 (D. Del.) (consolidated); Torrent Pharmaceuticals Ltd. and

Torrent Pharma Inc., C.A. No. 1:17-cv-00854, D.I. 169 (D. Del.) (consolidated); TWi

Pharmaceuticals, Inc. and TWi Pharmaceuticals USA Inc., C.A. No. 1:17-cv-00856, D.I. 162 (D.

Del.) (consolidated); Windlas Healthcare, Pvt. Ltd., C.A. No. 1:17-cv-00849, D.I. 174 (D. Del.)

(consolidated); Shilpa Medicare Limited (C.A. No. 1:17-cv-00847, D.I. 286 (D. Del.)

(consolidated)); Hetero USA Inc., Hetero Labs Limited Unit-III and Hetero Labs Limited, C.A.

No. 1:17-cv-00825, D.I. 287 (D. Del.) (consolidated)); Sandoz Inc. and Prinston Pharmaceutical

Inc., C.A. No. 1:17-cv-00874, D.I. 319 (D. Del.) (consolidated)); MSN Laboratories Private Ltd.

and MSN Pharmaceuticals Inc., C.A. 1:17-cv-00845, (D.I. 317 (D. Del. (consolidated); and Zydus

Pharmaceuticals (USA) Inc., C.A. No. 1:17-cv-00954, D.I. 326 (D. Del.) (consolidated).

          B.        Complaints, Asserted Claims and Requested Relief

          5.        In the Complaints, Plaintiffs have alleged that each defendant will infringe, either

literally or under the doctrine of equivalents, the asserted patent under 35 U.S.C. § 271(e)(2) by

submitting, or causing to be submitted, to the FDA an ANDA seeking approval to manufacture,

use, import, offer to sell or sell Defendants’ generic products before the expiration of the asserted

patent.




          4
              Lupin Inc. is dismissed.


{01509412;v1 }                                       9
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 10 of 37 PageID #: 3496



          6.     Plaintiffs have further alleged that each defendant will induce infringement of

and/or contribute to the infringement of the asserted patent if the FDA approves each defendant’s

respective ANDA and defendants were to sell Defendants’ generic products with each defendant’s

proposed labeling, which is required to copy the FDA approved Tecfidera® labeling.

          7.     Plaintiffs are asserting the following claims against the Defendants (“the asserted

claims”):

            Patent              Claims Asserted         Defendants Asserted Against
            the ’514 patent     1-4, 6, 8-13, 15-16     All Defendants: Aurobindo, Hetero, MSN,
                                                        Prinston, Sandoz, Shilpa and Zydus


          8.     In the Complaints, Plaintiffs requested that the Court:

        enter judgment under 35 U.S.C. § 271(e)(2)(A) that each defendant has infringed at least

         one claim including at least claim 1 of the asserted patent(s) through each Defendant’s

         submission of an ANDA to the FDA seeking to obtain approval to manufacture, use,

         import, offer to sell and sell Defendants’ generic products in the United States before the

         expiration of the asserted patent(s);

        enter judgment under 35 U.S.C. § 271(b) and/or (c) that each defendant’s commercial

         manufacture, use, offer for sale, or sale within the United States, or importation into the

         United States of Defendants’ generic products prior to the expiration of the asserted

         patent(s) constitutes infringement of one or more claims of said patent(s) under 35 U.S.C.

         § 271(b) and/or (c);

        order that the effective date of any approval by the FDA of Defendants’ generic products

         be a date that is not earlier than the expiration date of the asserted patent(s), or such later

         date as the Court may determine;




{01509412;v1 }                                     10
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 11 of 37 PageID #: 3497



        enjoin each defendant, and all persons acting in concert with each defendant, from the

         manufacture, use, import, offer for sale and sale of Defendants’ generic products until the

         expiration of the asserted patent(s), or such later date as the Court may determine;

        declare this to be an exceptional case under 35 U.S.C. §§ 285 and 271(e)(4) and award

         Plaintiffs costs, expenses and disbursements in this action, including reasonable attorney

         fees; and

        award such further and other relief as this Court deems proper and just.

         C.        Defendants’ Answers, Defenses, Counterclaims and Requested Relief

                   1.     Aurobindo

         9.        In its Answer, Defenses and Counterclaims, Aurobindo denied all material

allegations asserted by Plaintiffs and asserted the following defenses: (1) non-infringement of the

’514 patent, (2) invalidity of the ’514 patent, (3) the safe harbor provision of 35 U.S.C. § 271(e)(1),

(4) failure to state a claim, (5) costs barred by 35 U.S.C. §288, (6) no willful infringement or

exceptional case and (7) reservation of rights to supplement or amend defenses. (C.A. No. 1:17-

cv-00824, D.I. 10.) Aurobindo further asserted counterclaims against Biogen seeking declaratory

judgments of non-infringement of, invalidity of, and no injunctive remedy for the ’514 patent.

(Id.)

         10.       Aurobindo requested that the Court enter judgment:

        dismissing the Complaint with prejudice and denying each and every prayer for relief

         contained therein;

        declaring that Aurobindo’s proposed dimethyl fumarate product does not infringe, directly

         or indirectly, literally or under the doctrine of equivalents, any valid claim of the ’514

         patent;




{01509412;v1 }                                    11
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 12 of 37 PageID #: 3498



        declaring that the ’514 patent is invalid;

        declaring that Biogen is not entitled to any injunctive remedy for the ’514 patent;

        enjoining Biogen and their respective officers, employees, agents, representatives,

         attorneys and others acting on their behalf, from representing to anyone, either directly or

         indirectly, that Aurobindo’s proposed dimethyl fumarate product has infringed, are

         infringing or will infringe, directly or indirectly, literally or under the doctrine of

         equivalents, any claim of the ’514 patent;

        awarding Aurobindo its costs;

        declaring that this case is exceptional pursuant to 35 U.S.C. § 285 and awarding Aurobindo

         its attorneys’ fees; and

        awarding to Aurobindo such further relief as this Court may deem necessary, just and

         proper.

         (Id.)

                   2.     Hetero

         11.       In its Answer, Defenses and Counterclaims in C.A. No. 1:17-cv-00825, Hetero

asserted the following defenses: (1) non-infringement of the ’514 patent, (2) invalidity and/or

unenforceability of the ’514 patent and (3) no exceptional case under 35 U.S.C. § 285. (C.A. No.

1:17-cv-00825, D.I. 13.) Hetero further asserted counterclaims against Biogen seeking declaratory

judgments of non-infringement of and invalidity of the ’514 patent. (Id.)

         12.       Hetero requested that the Court enter judgment in its favor and against Biogen,

                   including the following specific relief:

        dismissing the Complaint with prejudice and denying each and every request for relief

         made therein;



{01509412;v1 }                                        12
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 13 of 37 PageID #: 3499



        declaring that claims 1-20 of the ’514 are invalid;

        declaring that the manufacture, use, sale, offer for sale, or importation of the Proposed

         Product that is the subject of ANDA No. 210500 has not infringed, does not infringe, and

         would not, if marketing, infringe any valid and enforceable claim of the ’514 patent;

        declaring this case is exceptional and awarding Hetero USA reasonable attorneys’ fees and

         costs under 35 U.S.C. § 285; and

        awarding Hetero USA such other and further relief as the Court may deem just and proper.

         (Id.)

                     3.        MSN

         13.         In its Answer, Defenses and Counterclaims, MSN denied all material allegations

asserted by Biogen MA Inc. (“Plaintiff”) and asserted the following defenses: (1) non-infringement

of the ’514 patent by the filing of MSN’s ANDA No. 210460, (2) non-infringement of the ’514

patent by the manufacture, use, sale, or offer for sale of MSN’s proposed generic products that are

the subject of ANDA No. 210460, (3) invalidity of the ’514 patent, (4) failure to state a claim, (5)

failure to join a required party, (6) lack of standing, (7) no exceptional case under 35 U.S.C. § 285

and (8) any additional defenses that discovery may reveal. (C.A. No. 1:17-cv-00845, D.I. 12.)

MSN further asserted counterclaims against Biogen seeking declaratory judgments of non-

infringement of and invalidity of the ’514 patent. (Id.)

         14.         MSN requested that the Court enter a judgment and order in their favor and against

Biogen, as follows:

                    declaring that MSN has not infringed any valid and enforceable claim of the ’514

                     patent;




{01509412;v1 }                                       13
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 14 of 37 PageID #: 3500



                    declaring that the manufacture, use, offer to sell, importation, or sale of MSN’s

                     ANDA products would not infringe any valid or enforceable claim of the ’514

                     patent;

                    declaring that the claims of the ’514 patent are invalid;

                    awarding MSN its costs and expenses in this action;

                    declaring that this is an exceptional case under 35 U.S.C. § 285 and awarding MSN

                     its attorneys’ fees, costs, and expenses in this action; and

                    awarding MSN any further and additional relief as the Court deems just and proper.

         (Id.)

                     4.        Prinston

         15.         Prinston and Sandoz consented, pursuant to Federal Rule of Civil Procedure 25(c),

to the joinder of Prinston as a defendant in the Sandoz Action, C.A. No. 1:17-cv-00874. (C.A. No.

1:17-cv-00823 (consol.), D.I. 180.) All of the claims, counterclaims, and defenses pled by and

between Biogen and Sandoz in the Sandoz Action, including those reflected in the complaint,

answer, and reply to counterclaims (D.I.s 1, 9, and 13, respectively, in C.A. No. 1:17-cv-00874),

shall be deemed to have been pled as well by and between Biogen and Prinston. (Id.; see also

infra Section C.5.)

                     5.        Sandoz

         16.         In its Answer, Defenses and Counterclaims, Sandoz denied all material allegations

asserted by Plaintiffs and asserted the following defenses: (1) non-infringement of the ’514 patent

by the filing of Sandoz’s ANDA No. 210414, (2) non-infringement of the ’514 patent by the

manufacture, use, sale, or offer for sale of Sandoz’s proposed generic products that are the subject

of ANDA No. 210414, (3) invalidity of the ’514 patent, (4) failure to state a claim, (5) failure to




{01509412;v1 }                                         14
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 15 of 37 PageID #: 3501



join a required party, (6) lack of standing, (7) no exceptional case under 35 U.S.C. § 285 and (8)

any additional defenses that discovery may reveal. (C.A. No. 1:17-cv-00874, D.I. 9.) Sandoz

further asserted counterclaims against Biogen seeking declaratory judgments of non-infringement

of and invalidity of the ’514 patent. (Id.)

         17.         Sandoz requested that the Court enter judgment in its favor and against Plaintiffs

as follows:

                    declaring that Sandoz has not infringed any valid and enforceable claim of the ’514

                     patent;

                    declaring that the manufacture, use, offer to sell, importation, or sale of Sandoz’s

                     ANDA products would not infringe any valid or enforceable claim of the ’514

                     patent;

                    declaring that the claims of the ’514 patent are invalid;

                    awarding Sandoz its costs and expenses in this action;

                    declaring that this is an exceptional case under 35 U.S.C. § 285 and awarding

                     Sandoz its attorneys’ fees, costs, and expenses in this action; and

                    awarding Sandoz any further and additional relief as the Court deems just and

                     proper.

         (Id.)

                     6.        Shilpa

         18.         In its Answer and Defenses, Shilpa asserted the following defenses: (1) non-

infringement of the ’514 patent, (2) invalidity of the ’514 patent and (3) no exceptional case under

35 U.S.C. § 285. (C.A. No. 1:17-cv-00847, D.I. 8.)




{01509412;v1 }                                        15
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 16 of 37 PageID #: 3502



                     7.     Zydus

         19.         In its Answer and Defenses, Zydus asserted the following defenses: (1) non-

infringement of the ’514 patent, (2) invalidity of the ’514 patent and (3) reservation of any and all

defenses available under the Federal Rules of Civil Procedure and the U.S. Patent Laws and any

other defenses, at law or in equity, that may now exist or become available later as a result of

discovery and further factual investigation during this litigation. (C.A. No. 1:17-cv-00954, D.I.

8.)

         20.         Zydus requested that the Court enter judgment in favor of Zydus dismissing this

action with prejudice and awarding Zydus its reasonable attorneys’ fees pursuant to 35 U.S.C. §

285, interest, and costs of this action, and such other or further relief as this Court may deem just

and proper. (Id.)

         D.          Plaintiffs’ Answers to Counterclaims and Requested Relief

                     1.     Aurobindo

          21.        In Plaintiffs’ Answer to Aurobindo’s counterclaims, Plaintiffs denied all

counterclaims asserted by Aurobindo of non-infringement of, invalidity of, and no injunctive

remedy for the ’514 patent. (C.A. No. 1:17-cv-00824, D.I. 12.)

          22.        Plaintiffs requested that the Court:

                    dismiss Aurobindo’s counterclaims with prejudice;

                    deny any of the relief Aurobindo seeks in its counterclaims;

                    grant Plaintiffs the relief requested in Plaintiffs’ Complaint; and

                    award Plaintiffs such further and additional relief as this Court deems just and

                     proper.

         (Id.)




{01509412;v1 }                                        16
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 17 of 37 PageID #: 3503



                     2.     Hetero

          23.        In Plaintiffs’ Answer to Hetero’s counterclaims, Plaintiffs denied all counterclaims

asserted by Hetero of non-infringement of and invalidity of the ’514 patent. (C.A. No. 1:17-cv-

00825, D.I. 17.)

          24.        Plaintiffs requested that the Court:

                     dismiss Hetero USA’s counterclaims with prejudice;

                     deny any of the relief Hetero USA seeks in its counterclaims;

                     grant Plaintiffs the relief requested in Plaintiffs’ Complaint; and

                     award Plaintiffs such further and additional relief as this Court deems just and

                      proper.

         (Id.)

                     3.     MSN

          25.        In Plaintiff’s Answer to MSN’s counterclaims, Plaintiff denied all counterclaims

asserted by MSN of non-infringement of and invalidity of the ’514 patent. (C.A. No. 1:17-cv-

00845, D.I. 15.)

          26.        Plaintiff requested that the Court:

                     dismiss MSN’s counterclaims with prejudice;

                     deny any of the relief MSN seeks in its counterclaims;

                     grant Plaintiff the relief it requested in Plaintiff’s Complaint; and

                     award Plaintiff such further and additional relief as this Court deems just and

                      proper.

         (Id.)




{01509412;v1 }                                         17
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 18 of 37 PageID #: 3504



                       4.     Prinston

            27.        Prinston and Sandoz consented, pursuant to Federal Rule of Civil Procedure 25(c),

to the joinder of Prinston as a defendant in the Sandoz Action, C.A. No. 1:17-cv-00874. (C.A. No.

1:17-cv-00823 (consol.), D.I. 180.) All of the claims, counterclaims, and defenses pled by and

between Biogen and Sandoz in the Sandoz Action, including those reflected in the complaint,

answer, and reply to counterclaims (D.I.s 1, 9, and 13, respectively, in C.A. No. 1:17-cv-00874),

shall be deemed to have been pled as well by and between Biogen and Prinston. (Id.; see also

infra Section C.5.)

                       5.     Sandoz

            28.        In Plaintiffs’ Answer to Sandoz’s counterclaims, Plaintiffs denied all counterclaims

asserted by Sandoz of non-infringement of and invalidity of the ’514 patent. (C.A. No. 1:17-cv-

00874, D.I. 13.)

            29.        Plaintiffs requested that the Court:

                      dismiss Sandoz’s counterclaims with prejudice;

                      deny any of the relief Sandoz seeks in its counterclaims;

                      grant Plaintiffs the relief requested in Plaintiffs’ Complaint; and

                      award Plaintiffs such further and additional relief as this Court deems just and

                        proper.

           (Id.)

                       6.     Shilpa

            30.        Shilpa did not assert any counterclaims against Plaintiff. (C.A. No. 1:17-cv-00847,

D.I. 8.)




{01509412;v1 }                                          18
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 19 of 37 PageID #: 3505



                  7.     Zydus

          31.     Zydus did not assert any counterclaims against Plaintiffs. (C.A. No. 1:17-cv-

00954, D.I. 8.)

         E.       Consolidation

         32.      On February 2, 2018, the Court consolidated C.A. Nos 1:17-cv-00824, 1:17-cv-

00825, 1:17-cv-00845, 1:17-cv-00874, 1:17-cv-00847, 1:17-cv-00875, and 1:17-cv-00954 under

the lead case, Biogen International GmbH, et al. v. Amneal Pharmaceuticals LLC, et al., C.A. No.

1:17-cv-00823-LPS (D.I. 22.) On March 1, 2019, the Court consolidated C.A. No. 1:19-cv-00211

under the same lead case. An order staying the action against Amneal Pharmaceuticals LLC was

entered on September 11, 2018. (C.A. No. 1:17-cv-00823-LPS (consolidated), D.I. 171.) On

November 13, 2019, the consolidated action was reassigned to Judge Maryellen Noreika (C.A. No.

1:17-cv-00823-MN (consolidated), see D.I. 329.).

         F.       Claim Construction

         33.      On October 2, 2018, Plaintiffs and certain Defendants, including Aurobindo,

Hetero, MSN, Prinston, Sandoz, Sawai, Shilpa and Zydus, filed a joint claim statement stipulating

to the construction of certain terms of the asserted patent. The parties stipulated to construction of

the ’514 patent claim term “a pharmaceutical composition consisting essentially of . . . a

therapeutically effective amount of dimethyl fumarate . . . wherein the therapeutically effective

amount of dimethyl fumarate . . . is about 480 mg per day” in the ’514 patent claims 1 and 15 as

“[t]his phase[sic] has its plain and ordinary meaning, which includes that the pharmaceutical

composition is therapeutically effective for treating multiple sclerosis.” (D.I. 185.)

         G.       Prior Motions

         34.      There are no prior motions.




{01509412;v1 }                                   19
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 20 of 37 PageID #: 3506



         H.      Pending Motions

         35.     There are no pending motions.

II.      Jurisdiction

         36.     This is a consolidated action for patent infringement of U.S. Patent Nos. 8,399,514

(“the ’514 patent”)5 arising under the patent laws of the United States, Title 35, United States Code,

§§ 100 et seq., including 35 U.S.C. § 271.

         37.     Personal jurisdiction is not disputed for purposes of this action and is based on the

reasons stated in each Complaint6 and each Defendant’s corresponding answer.7 Subject matter

jurisdiction is not disputed for purposes of this action and is based on 28 U.S.C. §§ 1331 and

1338(a). (See Defendants’ Jurisdiction Answers.8)

         38.     Venue is not disputed for the purposes of this action and is based on 28 U.S.C. §§

1391(b) and (c) and § 1400(b) for the entities incorporated in Delaware and on the answers of

those Defendants not incorporated in Delaware that state that the defendant does not contest venue

in this action. (Id.)




         5
          The ’514 patent is asserted against all Defendants. (see C.A. Nos. 1:17-cv-00824, 1:17-
cv-00825, 1:17-cv-00845, 1:17-cv-00874, 1:17-cv-00847, 1:17-cv-00875, and 1:17-cv-00954.)
        6
          Aurobindo Complaint, C.A. No. 1:17-cv-00824, D.I. 1 at ¶¶ 9-24; Hetero Complaint,
C.A. No. 1:17-cv-00825, D.I. 1 at ¶¶ 14-33; MSN Complaint, C.A. No. 1:17-cv-00845, D.I. 1 at
¶¶ 10-29; Sandoz Complaint, C.A. No. 1:17-cv-00874, D.I. 1 at ¶¶ 7-16; Stipulated Order Joining
Prinston, C.A. No. 1:17-cv-00874, D.I. 22 at ¶ 8; Shilpa Complaint, C.A. No. 1:17-cv-00847, D.I.
1 at ¶¶ 6-16; and Zydus Complaint, C.A. No. 1:17-cv-00954, D.I. 1 at ¶¶ 7-16.
        7
          Aurobindo Answer, C.A. No. 1:17-cv-00824, D.I. 10 at ¶¶ 9-24; Hetero Answer, C.A.
No. 1:17-cv-00825, D.I. 13 at ¶¶ 14-33 MSN Answer, C.A. No. 1:17-cv-00845, D.I. 12 at ¶¶ 10-
29; Sandoz Answer, C.A. No. 1:17-cv-00874, D.I. 9 at ¶¶ 7-16; Stipulated Order Joining Prinston,
C.A. No. 1:17-cv-00874, D.I. 22 at ¶ 8; Shilpa Answer, C.A. No. 1:17-cv-00847, D.I. 8 at ¶¶ 6-
16; and Zydus Answer, C.A. No. 1:17-cv-00954, D.I. 8 at ¶¶ 7-16.
        8
          Id.


{01509412;v1 }                                    20
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 21 of 37 PageID #: 3507



III.     Facts

         A.      Uncontested Facts

         39.     The parties’ Joint Statement of Uncontested Facts with regard to validity is attached

as Exhibit 1. The facts are not disputed or have been agreed to or stipulated to by the parties.

These facts should become part of the evidentiary record in this consolidated action.

         40.     Any party, with prior notice to all other parties, may read any or all of the

uncontested facts to the jury or Court, and will be charged for the time used to do so.

         B.      Contested Facts

         41.     Plaintiffs’ statement of Contested Facts to be Litigated with regard to validity are

                 attached as Exhibit 2.

         42.     Defendants’ statement of Contested Facts to be Litigated with regard to validity are

                 attached as Exhibit 3.

         43.     Plaintiffs’ statement of Contested Facts to be Litigated with regard to infringement

                 are attached as Exhibit A1.

         44.     If this Court determines that any issue identified in the statements of Contested

Facts to be Litigated is more properly considered an issue of law, it should be so considered.

IV.      Issues of Law

         45.     Plaintiffs’ statement of Issues of Law to be Litigated is attached as Exhibit 4.

         46.     Defendants’ statement of Issues of Law to be Litigated is attached as Exhibit 5.

         47.     If this Court determines that any issue identified in the statements of Issues of Law

to be Litigated is more properly considered an issue of fact, it should be so considered.

V.       Witnesses

         48.     Presentation of evidence will follow the burden of proof.




{01509412;v1 }                                    21
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 22 of 37 PageID #: 3508



         49.     In the absence of an alternative agreement between the parties, fact witnesses will

be sequestered.

         50.     Unless otherwise agreed between the parties, the parties will identify witnesses

expected to testify by 7:00 p.m. two calendar days before the direct examination will take

place. The other party shall identify any objections to such witness(es) by 8:30 p.m. the following

day and the parties shall meet and confer to resolve any objections by 9:30 p.m. that same

evening. If good faith efforts to resolve the objections fail, the party objecting shall bring its

objections to the Court’s attention prior to the witness being called to the witness stand.

         51.     The parties shall exchange a final list of witnesses they intend to call live at trial

two (2) weeks in advance of the trial date. A party shall promptly provide notice if it will not call

live a witness who is so identified on the list of trial witnesses. To the extent a party gives notice

that a witness identified as a live witness on the list of trial witnesses is not going to be called live,

the parties may provide designations and counter-designations of the witness’s deposition

transcript, as well as objections to the opposing party’s designations, in a reasonable time frame

as agreed upon between the parties.

         52.     The parties will confer nightly to update opposing counsel as to the expected day

that the party intends to complete its presentation of evidence.

         53.     The parties’ witness lists, see Section V.A and Section V.B below, are a good faith

representation of the witnesses currently expected to testify at trial, not a commitment that any of

the witnesses listed will appear to testify live at trial. To the extent that a witness’s circumstances

change, or a witness otherwise becomes unavailable for trial, the parties agree to timely notify the

other parties and supplement their witness list. In the event a fact witness either of the parties have




{01509412;v1 }                                     22
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 23 of 37 PageID #: 3509



identified as testifying live at trial becomes unavailable, each party reserves the right to call that

witness by deposition, as set forth below in this pretrial order.

         54.        The parties further reserve the right to call: (1) one or more additional witnesses

whose testimony is necessary to establish authenticity or admissibility of any trial exhibit, if that

evidentiary status of the exhibit is challenged by an opposing party the parties will work together

in good faith to resolve authentication and admissibility issues without the need for live testimony,

if possible); (2) additional witnesses to respond to any issues raised by the Court’s pretrial or trial

rulings; (3) any witness live for impeachment purposes to the extent permitted by applicable rules;

and (4) any witness who appears on the other party’s witness list.

         55.        Any witness not listed in the parties’ witness lists, see Section V.A. and Section

V.B below, or provided for in the preceding paragraph above will be precluded from testifying

absent good cause shown.

         A.         List of Witnesses Plaintiffs Expects to Call

                 56. Plaintiffs’ List of Witnesses to be Called Live or By Deposition with regard to

validity is attached as Exhibit 6, and it includes both expert and non-expert witnesses and any

objections to a witness by Defendants with a brief statement of the basis for the objection.

Plaintiffs’ List of Witnesses to be Called Live or By Deposition with regard to infringement is

attached as Exhibit A2, and it includes both expert and non-expert witnesses and any objections

to a witness by Defendants with a brief statement of the basis for the objection.

                 57. For any expert witness, Exhibit 6 and Exhibit A2 identifies the subject matter on

which Plaintiffs will ask the Court to recognize the witness’s expertise. No deviations as to the

described subject matter will be permitted without approval of all parties or the Court, on good

cause shown.




{01509412;v1 }                                      23
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 24 of 37 PageID #: 3510



         B.         List of Witnesses Defendants Expects to Call

                 58. Defendants’ List of Witnesses to be Called Live or By Deposition with regard to

the ’514 patent is attached as Exhibit 7 and it includes both expert and non-expert witnesses and

any objections to a witness by Plaintiffs with a brief statement of the basis for the objection.

                 59. For any expert witness, Exhibit 7 identifies the subject matter on which Defendants

will ask the Court to recognize the witness’s expertise. No deviations as to the described subject

matter will be permitted without approval of all parties or the Court, on good cause shown

         C.         List of Witnesses Third Parties Expect to Call

         60.        There are no third parties to the action.

         D.         Testimony by Deposition

         61.        A key to the objection codes used by both Plaintiffs’ and Defendants’ for objections

to deposition testimony is attached as Exhibit 8 and Exhibit 9, respectively.

         62.        Plaintiffs identify the deposition testimony that Plaintiffs may offer into evidence

with regard to validity in Exhibit 10. Plaintiffs’ deposition designations, Defendants’ objections

to the designations, Defendants’ counter designations, and Plaintiffs’ objections to the counter

designations are listed in Exhibit 10. Plaintiffs and Aurobindo have agreed to identify deposition

testimony that may be offered into evidence with regard to infringement, and any objections or

counter designations, at a later date prior to trial.

         63.        Defendants identify the deposition testimony that Defendants may offer into

evidence in Exhibit 11.           Defendants’ deposition designations, Plaintiffs’ objections to the

designations, Plaintiffs’ counter designations, and Defendants’ objections to the counter

designations are listed in Exhibit 11.

         64.        With respect to those witnesses whom the parties have identified in Exhibits A2, 6

and 7 that will be called to testify live at trial, no deposition designations or counter-designations


{01509412;v1 }                                        24
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 25 of 37 PageID #: 3511



are required. Should a fact witness identified in Exhibits A2, 6 and 7 as testifying live at trial

become unavailable, as that term is defined in the Federal Rules of Civil Procedure and Federal

Rules of Evidence, the parties are permitted to designate specific pages and lines of deposition

testimony that they intend to read or play in lieu of the witness’s appearance upon reasonable

notice. The parties shall only identify those witnesses they intend to call to testify live at trial that

they believe in good faith they will call to testify live at trial, and the parties shall immediately

notify each other in the event they have decided not to call a witness to testify live at trial.

         65.     Subject to the preceding paragraph, this pretrial order contains the maximum

universe of deposition designations, counter-designations, and objections to admission of

deposition testimony; none of the foregoing shall be supplemented without approval of all parties

or leave of the Court, on good cause shown. A party’s decision not to introduce some or all of the

testimony of a witness designated by that party herein shall not be commented upon by the other

party at trial. Either party is entitled to use the deposition testimony as designated herein by the

other party.

         66.     For deposition testimony provided to the Court, the parties providing the designated

testimony shall serve the other parties with the transcript pages and line numbers of the deposition

testimony they intend to introduce by 7:00 p.m. four calendar days before such testimony is to

be introduced, and identify the manner in which the deposition will be used, either by video or

reading the transcript into the record. The opposing parties will identify any objections to the

designated deposition testimony and any specific pages and lines from that deposition to counter-

designate by 7:00 p.m. two calendar days before such testimony is to be introduced), Anticipated

objections are listed in Exhibits 10 and 11, and the parties shall not be permitted to add or assert

different objections to deposition testimony designated or counter-designated in Exhibits 10 and




{01509412;v1 }                                     25
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 26 of 37 PageID #: 3512



11. By 8:00 pm one calendar day before such testimony is to be introduced, the introducing

party will identify any objections to the other party’s counter-designated testimony. The parties

shall meet and confer to resolve any objections to designated testimony by 10:00 p.m. that same

day (one calendar day before such testimony is to be introduced).

         67.     If there are objections that remain to be resolved, the party calling the witness by

deposition shall, no later than one (1) calendar days before the witness is to be called at trial,

submit, on behalf of all parties: (i) a copy of the entire deposition testimony of the witness at issue,

clearly highlighting the designations, counter-designations, and pending objections; and (ii) a

cover letter clearly identifying the pending objections as well as a brief indication (i.e., no more

than one sentence per objection) of the basis for the objection and the offering party’s response to

it. Failure to comply with these procedures, absent an agreement by the parties and approval by

the Court, will result in waiver of the use of the deposition testimony or waiver of objection to the

use of the deposition testimony.

         68.     All irrelevant and redundant material, including colloquy between counsel and

objections, will be eliminated when the deposition is read or viewed at trial.

         69.     When the witness is called to testify by deposition at trial, the party calling the

witness shall provide the Court with two copies of the transcript of the designations and counter-

designations that will be read or played. In the case of designations played via video, the parties

will be charged for elapsed time that corresponds to the video length of the lines of testimony the

party designated. If the designations are read, the parties will be charged for the time that

corresponds to the lines of testimony the party designated.

         70.     When deposition designation excerpts are introduced, all admissible deposition

counter-designation excerpts will be introduced simultaneously in the sequence in which the




{01509412;v1 }                                    26
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 27 of 37 PageID #: 3513



testimony was originally given. The specific portions of the deposition shall be read or played in

page order. If an exhibit is referenced in a deposition designation, the exhibit is admitted into

evidence if it is included on the offering party’s trial exhibit list, is not otherwise objected to, and

the offering party formally moves the exhibit into evidence by exhibit number.

         E.         Impeachment with Prior Inconsistent Testimony

         71.        Pursuant to Fed. R. Evid. 613, deposition and other testimony or statements not

specifically identified on a party’s deposition designation list or exhibit list may be used at trial

only for the purpose of impeachment, if otherwise competent for such purpose. The Court will

rule at trial on any objections based on lack of completeness and/or lack of consistency.

                 F. Objections to Expert Testimony

         72.        The parties request that the Court rule at trial on any objections to expert testimony

beyond the scope of expert disclosures. In the event of any such objection, the parties shall provide

copies of that expert’s report(s) and deposition testimony to the Court. However, unless expressly

moved and accepted into evidence, the expert report(s) and deposition testimony shall be used only

for the purpose of ruling on objections to expert testimony offered at trial.

VI.      Exhibits

         A.         Exhibits

         73.        A Key to the objection codes used by both Plaintiffs’ and Defendants’ for

objections to exhibits is attached as Exhibit 12 and Exhibit 13, respectively.

         74.        Plaintiffs’ list of exhibits that they may offer at trial, except demonstrative exhibits

and exhibits to be used solely for impeachment, and Defendants’ objections to Plaintiffs’ exhibits,

are attached as Exhibit 14. Plaintiffs’ trial exhibits will be identified with PTX numbers, starting

at PTX 1. Plaintiffs’ demonstratives will be identified with PDX numbers. Plaintiffs and




{01509412;v1 }                                        27
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 28 of 37 PageID #: 3514



Aurobindo have agreed to identify exhibits that may be offered at trial with regard to infringement,

and any objections, at a later date prior to trial.

            75.   Defendants’ joint list of exhibits that they may offer at trial, except demonstrative

exhibits and exhibits to be used solely for impeachment, and Plaintiffs’ objections to Defendants’

exhibits, are attached as Exhibit 15. Defendants’ trial exhibits will be identified with DTX

numbers, starting at DTX 1. Defendants’ demonstratives will be identified with DDX numbers.

            76.   The parties agree that exhibits to be used solely for impeachment and/or cross-

examination need not be included on the lists of trial exhibits or disclosed in advance of being used

at trial.

            77.   This pretrial order contains the maximum universe of exhibits to be used in any

party’s case-in-chief, as well as all objections to the admission of such objections, neither of which

shall be supplemented without approval of all parties or leave of the Court, on good cause shown.

Exhibits not listed will not be admitted unless good cause is shown.

            78.   No exhibit will be admitted unless offered into evidence through a witness, who

must at least be shown the exhibit. At some point before the completion of the trial, any party that

has used an exhibit with a witness and wishes that exhibit to be admitted into evidence must

formally move the exhibit into evidence, by exhibit number. This applies to exhibits offered

through live testimony and designated testimony.

            79.   A party will provide a list of the exhibits to be used in connection with live direct

examination by 7:00 p.m. the night before their intended use, and objections will be provided no

later than 8:30 p.m. the night before their intended use. The parties shall meet and confer by

9:30 p.m. the night before their intended use in order to attempt to resolve any objections. If

good faith efforts to resolve the objections fail, the parties defer to the Court for ruling on




{01509412;v1 }                                        28
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 29 of 37 PageID #: 3515



objections either prior to the witness being called to the witness stand or during the witness’s

testimony. Failure to comply with these procedures, absent an agreement by the parties and

approval by the Court, will result in waiver of the use of an exhibit or waiver of objection to the

exhibit.

         80.     Exhibits not objected to will be received into evidence by the operation of the Final

Pretrial Order without the need for additional foundation testimony, provided they are shown to a

witness. Nothing herein shall be construed as a stipulation or admission that the document is

entitled to any weight in deciding the merits of this case. The parties agree that any description of

a document on an exhibit list is provided for convenience only and shall not be used as an

admission or otherwise as evidence regarding the listed document or any other listed document.

         81.     Any party may use an exhibit that is listed on the other party’s exhibit list, to the

same effect as though it were listed on its own exhibit list, subject to all evidentiary objections.

Any exhibit, once admitted, may be used equally by each party, subject to any limitations as to its

admission. The listing of a document on a party’s exhibit list is not an admission that such

document is relevant, or admissible, when offered by the opposing side for the purpose that the

opposing side wishes to admit the document. Each party reserves the right to object to the relevance

of any evidence offered by the other party, at the time such evidence is offered, in view of the

specific context in which such evidence is offered.

         82.     Legible copies of United States patents, file histories, and the contents of United

States and foreign patents and translations thereof (if in English or translated into English) may be

offered and received in evidence in lieu of certified copies thereof, subject to all other objections

which might be made to the admissibility of certified copies.




{01509412;v1 }                                    29
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 30 of 37 PageID #: 3516



         83.     On or before the first day of trial, counsel will deliver to the Courtroom Deputy a

completed AO Form 187 exhibit list for each party.

         B.      Demonstrative Exhibits

         84.     The parties agree that the demonstrative exhibits that the parties intend to use at

trial do not need to be included on their respective exhibit lists that are part of this Final Pretrial

Order. Plaintiffs’ demonstrative exhibits will be identified with PDX numbers. Defendants’

demonstrative exhibits will be identified with DDX numbers.

         85.     The parties will exchange demonstratives to be used in opening statements by

12:00 p.m. noon the day before opening statements. The parties will provide any objections to

such demonstratives by 6:00 p.m. on the night before opening statements. The parties shall

meet and confer by 8:00 p.m. the night before opening statements.

         86.     A party will provide demonstrative exhibits to be used in connection with direct

examination by 7:00 p.m. the night before their intended use, and objections will be provided no

later than 8:30 p.m. the night before their intended use. The parties shall meet and confer by

9:30 p.m. the night before their intended use. If any of the demonstratives change after the

deadline, the party intending to use the demonstrative will promptly notify the opposing party of

the change(s).

         87.     The party seeking to use a demonstrative will provide a color representation of the

demonstrative to the other side in PDF form. However, for video or animations, the party seeking

to use the demonstrative will provide it to the other side on a DVD or CD. For irregularly sized

physical exhibits, the party seeking to use the demonstrative will provide a color representation as

a PDF of 8.5 x 11 copies of the exhibits.

         88.     These provisions do not apply to demonstratives intended for use in closing

statements, created during testimony or demonstratives to be used for cross-examination, none of


{01509412;v1 }                                    30
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 31 of 37 PageID #: 3517



which need to be provided to the other side in advance of their use. In addition, blow-ups or

highlights of exhibits or parts of exhibits or testimony are not required to be provided to the other

side in advance of their use.

         89.        If good faith efforts to resolve objections to demonstrative exhibits fail, the

objecting party shall bring its objections to the Court’s attention prior to the opening statements or

prior to the applicable witness being called to the witness stand. Failure to comply with these

procedures, absent an agreement by the parties and approval by the Court, will result in waiver of

the use of an exhibit or waiver of objection to the exhibit.

VII.     Damages

         90.        As of November 16, 2019, Plaintiffs are not claiming damages. If any Defendant

launches its proposed generic dimethyl fumarate products prior to the Court’s decision in this

consolidated action, the parties will inform the Court promptly.

VIII. Bifurcated Trial

         91.        The parties do not request a bifurcated trial.

IX.      Motions in Limine

         A.         Plaintiffs’ Motions in Limine

                    1.     Motion in Limine (No. 1) to Preclude Defendants’ Experts from
                           Offering Testimony Related to Biogen’s Intent, Motive or State of Mind

                 92. Plaintiffs’ Opening Motion is attached at Exhibit 16. Defendants’ Opposition to

the Motion is attached at Exhibit 17. Plaintiffs’ Reply to the Opposition is attached at Exhibit

18.




{01509412;v1 }                                        31
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 32 of 37 PageID #: 3518



                    2.      Motion in Limine (No. 2) to Exclude Evidence and Arguments Related
                            to Derivation or Invention by FDA

                 93. Plaintiffs’ Opening Motion is attached at Exhibit 19. Defendants’ Opposition to

the Motion is attached at Exhibit 20. Plaintiffs’ Reply to the Opposition is attached at Exhibit

21.

                    3.      Motion in Limine (No. 3) to Exclude Evidence Related to Using the
                            O’Neill Presentation as Prior Art

                 94. Plaintiffs’ Opening Motion is attached at Exhibit 22. Defendants’ Opposition to

the Motion is attached at Exhibit 23. Plaintiffs’ Reply to the Opposition is attached at Exhibit

24.

         B.         Defendants’ Motions in Limine

                 95. Defendants are not submitting any motions in limine.

X.       Discovery

         96.        Discovery is completed.

XI.      Number of Jurors

         97.        This is a non-jury trial.

XII.     Non-Jury Trial

         98.        The parties request a detailed opinion from the Court post-trial.

         99.        Along with their opening post-trial briefs, each party shall provide proposed

Findings of Fact, separately stated in numbered paragraphs, constituting a detailed listing of the

relevant material facts the party believes it has proven, in a simple narrative form, along with

citations to the record. No separate Conclusions of Law shall be filed.

         100.       The parties propose the following page limits:

                         a. The proposed Findings of Fact shall be limited to a maximum of 100 pages.

                         b. The opening post-trial briefs shall be limited to a maximum of 35 pages.


{01509412;v1 }                                       32
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 33 of 37 PageID #: 3519



                    c. The responsive post-trial briefs shall be limited to 20 pages.

         101.    The parties propose the following post-trial briefing schedule:

                    a. The parties simultaneously exchange their opening post-trial briefs, along

                        with proposed Findings of Fact, on Friday, January 31, 2020.

                    b. The parties simultaneously exchange their responsive post-trial briefs on

                        Friday, February 28, 2020.

XIII. Length of Trial

         102.    This matter is currently scheduled for a 5-day bench trial beginning with opening

statements at 12:00 p.m. on December 6, 2019. The remainder of trial is currently scheduled to

take place on December 9, 2019 and December 11, 2019 through December 13, 2019, each day

beginning at 8:30 a.m. (D.I. 334.) The trial day is currently scheduled to end at 6:00 p.m. each

day. (Id.)

         103.    The order of presentation of evidence and argument will be as follows:

                    a. Opening statements

                    b. Defendants’ case-in-chief on issues of invalidity

                    c. Plaintiffs’ rebuttal case on issues of invalidity

                    d. Defendants’ reply case on issues of invalidity

                    e. Closing arguments

         104.    The trial will be timed. Unless otherwise ordered, time will be charged to a party

for its opening statement, direct and redirect examinations of witnesses it calls, cross-examination

of witnesses called by any other party, closing argument, its argument on any motions for judgment

as a matter of law, and all sides’ argument on objections a party raises (outside the presence of the

jury) to another party’s exhibits and demonstrative exhibits.




{01509412;v1 }                                    33
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 34 of 37 PageID #: 3520



         105.    The Courtroom Deputy will keep a running total of trial time used by counsel. If

any party uses all of its allotted trial time, the Court will terminate that party’s trial presentation.

XIV. Motions for Judgment as a Matter of Law

         106.    The parties have agreed to the following procedure: The parties reserve the right to

move pursuant to Fed. R. Civ. P. 52(c) for judgment on partial findings. The parties agree that

either party making a motion pursuant to Fed. R. Civ. P. 52(c) will advise the Court of its motion

promptly and in accordance fully with Fed. R. Civ. P. 52(c). If the Court requests more extensive

argument on the motion, such argument will be taken up at the Court’s first convenience.

Supplementation of the motion in writing shall be made only upon request by the Court. Pursuant

to Fed. R. Civ. P. 52(c), the Court may decline to render any judgment until the close of evidence.

XV.      Amendments of the Pleadings

         107.    No amendments to the pleadings are sought by the parties at this time.

XVI. Additional Matters

         108.    Plaintiffs’ Statement. Plaintiffs’ anticipate requesting that the courtroom be

closed to the public for a portion of the testimony related to Biogen’s highly confidential internal

business documents.

         109.    Defendants’ Statement. Defendants disagree with Plaintiffs’ request to close the

courtroom to the public for a portion of the trial. Plaintiffs have not identified with particularity

the information that it seeks to withhold from public access or the specific injury that Plaintiffs

expect from public disclosure in court.

         110.    In light of the Court’s Oral Order (D.I. 334) setting the trial schedule, Defendants

request that the Court permit Defendants’ expert, Dr. Wee Yong, to testify on December 6th after

the parties’ opening statements. Although Dr. Yong has professional commitments during the

weeks of December 2nd and December 9th, Dr. Yong can more easily revise his plans to be able to


{01509412;v1 }                                     34
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 35 of 37 PageID #: 3521



testify on December 6th. In particular, Dr. Yong is hosting as co-chair a national conference on

multiple sclerosis in Calgary, Canada that impacts his availability to testify the week of December

9th.

XVII. Settlement

            111.   The parties certify that they have engaged in a good faith effort to explore the

resolution of the controversy by settlement and that no agreement has been reached. As of the

filing date of this order, the parties are continuing to discuss settlement, but still intend to proceed

to trial.




{01509412;v1 }                                    35
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 36 of 37 PageID #: 3522



ASHBY & GEDDES                                    CONNOLLY GALLAGHER LLP

/s/ Andrew C. Mayo                                /s/ Arthur G. Connolly, III
_______________________________                   ___________________________________
Steven J. Balick (#2114)                          Arthur G. Connolly, III (#2667)
Andrew C. Mayo (#5207)                            Stephanie S. Riley (#5803)
500 Delaware Avenue, 8th Floor                    1201 Market Street, 20th Floor
P.O. Box 1150                                     Wilmington, DE 19801
Wilmington, DE 19899                              (302) 757-7300
(302) 654-1888                                    aconnolly@connollygallagher.com
sbalick@ashbygeddes.com                           sriley@connollygallagher.com
amayo@ashbygeddes.com
                                                  Attorneys for Aurobindo Pharma U.S.A., Inc.
Attorneys for Plaintiffs                          and Aurobindo Pharma USA LLC

BAYARD, P.A.                                      PHILLIPS, GOLDMAN, MCLAUGHLIN
                                                  & HALL, P.A.
/s/ Stephen B. Brauerman
_______________________________                   /s/ David A. Bilson
Stephen B. Brauerman (#4952)                      ___________________________________
600 N. King Street, Suite 400                     John C. Phillips, Jr. (#110)
Wilmington, DE 19801                              David A. Bilson (#4986)
(302) 655-5000                                    1200 North Broom Street
sbrauerman@bayardlaw.com                          Wilmington, DE 19806-4204
                                                  (302) 655-4200
Attorneys for Hetero USA Inc., Hetero Labs        jcp@pgmhlaw.com
Limited Unit-III, and Hetero Labs Limited         dab@pgmhlaw.com

                                                  Attorneys for MSN Laboratories Private Ltd.
                                                  and MSN Pharmaceuticals Inc.

BAYARD, P.A.                                      PHILLIPS, GOLDMAN, MCLAUGHLIN
                                                  & HALL
/s/ Stephen B. Brauerman
_______________________________                   /s/ David A. Bilson
Stephen B. Brauerman (#4952)                      ___________________________________
600 N. King Street, Suite 400                     John C. Phillips, Jr. (#110)
Wilmington, DE 19801                              David A. Bilson (#4986)
(302) 655-5000                                    1200 North Broom Street
sbrauerman@bayardlaw.com                          Wilmington, DE 19806-4204
                                                  (302) 655-4200
Attorneys for Shilpa Medicare Limited             jcp@pgmhlaw.com
                                                  dab@pgmhlaw.com

                                                  Attorneys for Sandoz Inc. and
                                                  Prinston Pharmaceutical Inc.



{01509412;v1 }                               36
Case 1:17-cv-00823-MN Document 347 Filed 12/16/19 Page 37 of 37 PageID #: 3523




 PHILLIPS, GOLDMAN, MCLAUGHLIN
 & HALL

 /s/ David A. Bilson
 ___________________________________
 John C. Phillips, Jr. (#110)
 David A. Bilson (#4986)
 1200 North Broom Street
 Wilmington, DE 19806-4204
 (302) 655-4200
 jcp@pgmhlaw.com
 dab@pgmhlaw.com

Attorneys for Zydus Pharmaceuticals (USA) Inc.




         IT IS HEREBY ORDERED that this Final Pretrial Order shall control the subsequent

course of the action, unless modified by the Court to prevent manifest injustice.

DATED: _________________

                                             ___________________________________
                                             UNITED STATES DISTRICT JUDGE




{01509412;v1 }                                  37
